Case 1:05-cr-00047-DHB-BKE Document 338 Filed 09/26/12 Page 1 of 3


                                                                                            FILED
                        IN THE UNITED STATES DISTRICT COURT                        U S DISTRICT COURT
                                                                                      AUGUSTA DIV.
                       FOR THE SOUTHERN DISTRICT OF GEORGIA                         ZGIZ SEP 2b P 15 _'
                                      AUGUSTA DIVISION
                                                                                  CLER!(
 SEVERO DELATORRE,

                  Petitioner,

          V.                                          CV 112-108
                                                      (Formerly CR 105-047)
UNITED STATES OF AMERICA,

                  Respondent.


                                            [II ti1JU


          After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation ("R&R"), to which objections have been filed (doc.

no. 4). In the R&R, the Magistrate Judge recommended that Petitioner's motion under 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence be dismissed as time-barred. (Doc.

no. 2.)

          In his objections, Petitioner contends, for the first time, that the limitation period for

his § 2255 motion should be equitably tolled because he relied on another inmate to file his

motion and the inmate failed to do so. (Doc. no. 4, p. 2.) As noted by the Magistrate Judge

(see doe. no. 2, pp. 4-5), however, the petitioner bears the burden of proving his entitlement

to equitable tolling, Jones v. United States, 304 F.3d 1035, 1040 (11th Cir. 2002), and must

"show '(1) that he has been pursuing his rights diligently, and (2) that some extraordinary

circumstance stood in his way' and prevented timely filing." Lawrence v. Florida, 549 U.S.

327, 336 (2007) (quoting Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005)).
Case 1:05-cr-00047-DHB-BKE Document 338 Filed 09/26/12 Page 2 of 3



        Here, Petitioner fails to show that he pursued his rights diligently, let alone that an

extraordinary circumstance prevented him from timely filing. Instead, Petitioner offers

nothing more than vague allegations that "[t]his other inmate [in] whom trust was put forth

[] never filed the papers that he assured he would and only returned papers after it was to[o]

late to file," and that Petitioner has now "persued [sic] his filing diligently." (Doc. no. 4, p.

2.) Petitioner does not state with any specificity when he gave the motion to the other inmate

to file or when the other inmate returned the motion, nor does he even name the other inmate.

These imprecise, conclusory allegations, which Petitioner raises for the first time upon

receiving an unfavorable analysis in the R&R, are insufficient to satisfy his burden of

showing that he is entitled to the benefit of equitable tolling.

        For these reasons, Petitioner has failed to show that equitable tolling is appropriate

in this case. Petitioner's remaining objections are likewise without merit and provide no

basis for departing from the Magistrate Judge's recommendation. As a result, Petitioner's

objections are OVERRULED. Accordingly, the Report and Recommendation of the

Magistrate Judge is ADOPTED as the opinion of the Court. Therefore, the instant motion

filed pursuant to § 2255 petition is DISMISSED as time-barred.

        Furthermore, a federal prisoner must obtain a certificate of appealability ("COA")

before appealing the denial of his motion to vacate. This Court "must issue or deny a

certificate of appealability when it enters a final order adverse to the applicant." Rule 11(a)

to the Rules Governing Section 2255 Proceedings. This Court should grant a COA only if

the prisoner makes a "substantial showing of the denial of a constitutional right." 28 U.S.C.

§ 2253(c)(2). For the reasons set forth in the Report and Recommendation, and in
Case 1:05-cr-00047-DHB-BKE Document 338 Filed 09/26/12 Page 3 of 3



 consideration of the standards enunciated in Slack v. McDaniel, 529 U.S. 473, 482-84

 (2000), Petitioner has failed to make the requisite showing. Accordingly, a COA is

 DENIED in this case. ' Moreover, because there are no non-frivolous issues to raise on

 appeal, an appeal would not be taken in good faith. Accordingly, Petitioner is not entitled

 to appeal informapauperis. See 28 U.S.C. § 1915(a)(3).

        Upon the foregoing, this civil action is CLOSED.

        SO ORDERED this' day of Septe r,atAuta,
                                         2014   rgia.


                                                            _________________           p
                                       UNITED ST/TES DISTRICT JUDG




         "If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule
11(a) to the Rules: Governing Section 2255 Proceedings.

                                              3
